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                                                        - 929 -
                                  Nebraska Supreme Court A dvance Sheets
                                          301 Nebraska R eports
                              THOMAS GRADY PHOTOGRAPHY v. AMAZING VAPOR
                                           Cite as 301 Neb. 929



                               Thomas Grady Photography, Inc., appellee,
                                v. A mazing Vapor, Ltd., et al., appellees,
                                   and Thomas J. A nderson, appellant.
                                                    ___ N.W.2d ___

                                        Filed December 21, 2018.   No. S-17-818.

                                              supplemental opinion

                 Appeal from the District Court for Douglas County, Gregory
               M. Schatz, Judge, on appeal thereto from the County Court for
               Douglas County, Stephanie R. H ansen, Judge. Supplemental
               opinion: Motion of appellee for attorney fees sustained.
                    Thomas J. Anderson, P.C., L.L.O., pro se.
                 Justin A. Roberts, of Lustgarten &amp; Roberts, P.C., L.L.O., for
               appellee Thomas Grady Photography, Inc.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                  Per Curiam.
                  Appellee, Thomas Grady Photography, Inc. (Grady
               Photography), has moved under Neb. Ct. R. App. P. § 2-106
               (rev. 2012) for attorney fees associated with the unsuccessful
               appeal to this court by appellant, Thomas J. Anderson. An affi-
               davit and itemized legal bill claims $6,866 in attorney fees for
               work performed by Grady Photography’s attorney in connec-
               tion with this appeal. Because Grady Photography is entitled
               to appellate attorney fees under Neb. Rev. Stat. § 25-1801                              - 930 -
           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
         THOMAS GRADY PHOTOGRAPHY v. AMAZING VAPOR
                      Cite as 301 Neb. 929
(Reissue 2016), as amended by 2018 Neb. Laws, L.B. 710, we
award Grady Photography $6,866.
   As recited more fully in our opinion Thomas Grady
Photography v. Amazing Vapor, ante p. 401, 918 N.W.2d 853(2018), Grady Photography was hired to perform photogra-
phy services related to the products of Amazing Vapor, Ltd.
Amazing Vapor, Manuel Guillermo Calderon, and Anderson
refused to pay for the services. The unpaid bill for photogra-
phy services rendered totaled $2,400. The county court at trial
and the district court on appeal essentially found that Anderson
breached the oral contracts for Grady Photography’s services.
We affirmed. Id.   As a general rule, attorney fees and expenses are recover-
able only where provided for by statute or when a recognized
and accepted uniform course of procedure has been to allow
recovery of attorney fees. In re Estate of Graham, ante p.
594, 919 N.W.2d 714 (2018). Section 25-1801 applies to this
case where there has been an unpaid claim for payment for
photography services of $2,400. Section 25-1801, as amended,
provides in part:
         (1) On any lawsuit of four thousand dollars or less,
     regardless of whether the claims are liquidated or
     assigned, the plaintiff may recover costs, interest, and
     attorney’s fees in connection with each claim as provided
     in this section. If, at the expiration of ninety days after
     each claim accrued, the claim or claims have not been
     paid or satisfied, the plaintiff may file a lawsuit for pay-
     ment of the claim or claims. If full payment of each claim
     is made to the plaintiff by or on behalf of the defendant
     after the filing of the lawsuit, but before judgment is
     taken, except as otherwise agreed in writing by the plain-
     tiff, the plaintiff shall be entitled to receive the costs of
     the lawsuit whether by voluntary payment or judgment.
     If the plaintiff secures a judgment thereon, the plaintiff
     shall be entitled to recover:
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
         THOMAS GRADY PHOTOGRAPHY v. AMAZING VAPOR
                      Cite as 301 Neb. 929
        (a) The full amount of such judgment and all costs of
    the lawsuit thereon;
        (b) Interest at the rate of six percent per annum. Such
    interest shall apply to the amount of the total claim begin-
    ning thirty days after the date each claim accrued, regard-
    less of assignment, until paid in full; and
        (c) If the plaintiff has an attorney retained, employed,
    or otherwise working in connection with the case, an
    amount for attorney’s fees as provided in this section.
        (2) If the cause is taken to an appellate court and the
    plaintiff recovers a judgment thereon, the appellate court
    shall tax as costs in the action, to be paid to the plaintiff,
    an additional amount for attorney’s fees in such appellate
    court as provided in this section, except that if the plain-
    tiff fails to recover a judgment in excess of the amount
    that may have been tendered by the defendant, then the
    plaintiff shall not recover the attorney’s fees provided by
    this section.
        (3) Attorney’s fees shall be assessed by the court in
    a reasonable amount, but shall in no event be less than
    ten dollars when the judgment is fifty dollars or less, and
    when the judgment is over fifty dollars up to four thou-
    sand dollars, the attorney’s fee shall be ten dollars plus
    ten percent of the judgment in excess of fifty dollars.
        (4) For purposes of this section, the date that each
    claim accrued means the date the services, goods, mate-
    rials, labor, or money were provided, or the date the
    charges were incurred by the debtor, unless some different
    time period is expressly set forth in a written agreement
    between the parties.
(Emphasis supplied.)
  We have described the foregoing section as follows:
    [This] section provides that a claimant with a claim
    amounting to less than $4,000 for, among other things,
    services rendered, may present that claim to the allegedly
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
         THOMAS GRADY PHOTOGRAPHY v. AMAZING VAPOR
                      Cite as 301 Neb. 929
      liable party and then, if the claim is not paid within 90
      days, sue for the amount of the original claim and addi-
      tional costs, interest, and attorney fees.
Thomas &amp; Thomas Court Reporters v. Switzer, 283 Neb. 19,
29, 810 N.W.2d 677, 686 (2012).
   Given the terms of § 25-1801 and the facts of this case, we
determine that the appellate attorney fees incurred by Grady
Photography of $6,866 are reasonable. This court sustains
Grady Photography’s motion and awards Grady Photography
attorney fees of $6,866 to be paid by Anderson.
	Motion of appellee for
	                                       attorney fees sustained.
